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               In re National Prescription Opiate Litigation: MDL No. 2804
                               GENERIC MANUFACTURERS’
                       MOTION FOR PARTIAL SUMMARY JUDGMENT

                            Summary Sheet of Exhibits

Ex.                                  Document Description
1   Meredith Rosenthal, May 4, 2019 Dep.
    FDA, “Generic Drugs Undergo Rigorous FDA Scrutiny,” available at
    https://www.fda.gov/consumers/consumer-updates/generic-drugs-undergo-rigorous-fda-
2   scrutiny
    Karen A. Goldman et al., “Authorized Generic Drugs: Short-Term Effects and Long-
3   Term Impact,” Federal Trade Commission Report, August 2011
4   Declaration of David Myers
5   Excerpt of Douglas Boothe, Jan. 17, 2019 Dep.
6   Excerpt of Michael Perfetto, Dec. 18, 2018 Dep.
7   Excerpt of David Myers, Dec. 13, 2018 Dep.
8   Excerpt of Jinping McCormick, Jan. 9, 2019 Dep.
9   Excerpt of Andrew Boyer, Jan. 15, 2019 Dep.
10 Excerpt of Christine Baeder, Jan. 24, 2019 Dep.
11 Excerpt of John Hassler, Nov. 16, 2018 Dep.
12 Declaration of Christine Baeder
13 Excerpt of Matthew Perri, April 24, 2019 Dep.
14 Excerpt of Expert Report of Dr. Edward Michna
15 Excerpt of Expert Report of Dr. Pradeep Chintagunta
16 Excerpt of Expert Report of Dr. Sean Nicholson
17 Excerpt of Expert Report of Dr. Melanie Rosenblatt
18 Excerpt of Kevin Vorderstrasse, Dec. 5, 2018 Dep.
19 Excerpt of Ginger Collier, Jan. 9, 2019 Dep.
20 Excerpt of Lisa Cardetti, Jan. 10, 2019 Dep.
    FDA, “Generic Drugs: Questions & Answers,” available at
21 https://www.fda.gov/drugs/questions-answers/generic-drugs-questions-answers
    Supplemental Written Responses and Objection of Defendants’ Par Pharmaceutical, Inc.
    And Par Pharmaceutical Companies, Inc. To Plaintiffs’ Amended Notice Of Deposition
22 Pursuant To Rule 30(B)(6) Nos. 4, 6-10, 13-16, 18, 22, 23, 37 and 39
23 Excerpt of George Stevenson, Feb. 15, 2019 Dep.
